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                                                                        FILED
                   UNITED STATES COURT OF APPEALS                        DEC 5 2023

                                                                     MOLLY C. DWYER, CLERK
                           FOR THE NINTH CIRCUIT                      U.S. COURT OF APPEALS




KATHRYN MAYORGA,                              No.    22-16009

             Plaintiff-Appellant,             D.C. No.
                                              2:19-cv-00168-JAD-DJA
 v.                                           District of Nevada,
                                              Las Vegas
CRISTIANO RONALDO,

             Defendant-Appellee.              ORDER


Before: RAWLINSON and OWENS, Circuit Judges, and FITZWATER,* District
Judge.

      Appellant’s December 1, 2023 Motion for Extension of Time [Dkt. No. 87] is

GRANTED, and she must file her petition for rehearing en banc no later than

December 18, 2023.




      *
            The Honorable Sidney A. Fitzwater, United States District Judge for
the Northern District of Texas, sitting by designation.
